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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

JOHN EDWARD HAMMOND, Jr.                     :
     Plaintiff,                              :
                                             :
               V.                            :       CIVIL ACTION NO. 21-CV-3688
                                             :
THOMAS ACERNO, et al.,                       :
    Defendants.                              :

                                             ORDER

       AND NOW, this 4th day of November, 2021, upon consideration of Plaintiff John

Edward Hammond, Jr.’s pro se Complaint (ECF No. 2), it is ORDERED that:

       1.      For the reasons stated in the Court’s Memorandum, all official capacity claims

against Defendants SA.Thomas Acerno “HSI”, SA. Christopher Chase “HSI”, SA. David Helper

“HSI”, SA. Dominc Raguz “ATF”, SA. Name Unknown “Postal Worker”, all SA. Name

Unknown “ICE”, and all “PSP Name Unknown SERT” are DISMISSED WITH PREJUDICE

for failure to state a claim pursuant to 28 U.S.C. § 1915A.

       2.      For the reasons stated in the Court’s Memorandum, the following claims in

Hammond’s Complaint are DISMISSED WITHOUT PREJUDICE for failure to state a claim

pursuant to 28 U.S.C. § 1915A:

               a.     All official capacity claims against Defendants TPD Name Unknown

       “Towamencin Police”;

               b.     The “knock and announce”/official oppression claims against Defendants

       SA. Dominic Raguz “ATF”, SA. Name Unknown “Postal Worker”, and all SA. Name

       Unknown “ICE”;
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               c.        The excessive force/official oppression claims against Defendants TPD

       Name Unknown “Towamencin Police”, SA. Dominic Raguz “ATF”, SA. Name

       Unknown “Postal Worker”, and all SA. Name Unknown “ICE”;

               d.        The Fourth Amendment initiating falsehood/official oppression claims

       against all Defendants except Defendant SA. Thomas Acerno “HSI”;

               e.        The deliberate indifference to medical needs claims against all Defendants

       except Defendants SA. Thomas Acerno “HSI” and SA. Christopher Chase “HSI”.

       3.      The Clerk of Court is DIRECTED to send Hammond a blank copy of the Court’s

standard form complaint for prisoners to use to file a civil rights complaint bearing the above

civil action number. 1

       4.      Hammond is given thirty (30) days to file an amended complaint in the event he

can allege additional facts to cure the defects the Court has identified in the claims dismissed

without prejudice. Any amended complaint shall identify all defendants in the caption of the

amended complaint in addition to identifying them in the body of the amended complaint, shall

state the basis for Hammond’s claims against each defendant, and shall bear the title “Amended

Complaint” and the case number 21-3688. If Hammond files an amended complaint, his

amended complaint must be a complete document that includes all of the bases for Hammond’s

claims, including claims that the Court has not yet dismissed if he seeks to proceed on those

claims. Claims that are not included in the amended complaint will not be considered part

of this case. When drafting his amended complaint, Hammond should be mindful of the Court’s

reasons for dismissing his claims as explained in the Court’s Memorandum and provide specific




1
 This form is available on the Court’s website at
http://www.paed.uscourts.gov/documents/forms/frmc1983f.pdf.
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factual allegations against each named Defendant. Hammond may NOT reassert any claim

already dismissed with prejudice. Upon the filing of an amended complaint, the Clerk shall not

make service until so ORDERED by the Court.

          5.      If Hammond does not file an amended complaint the Court will direct service of

his initial Complaint for a responsive pleading on the following claims only: (a) claims alleging

Defendants Acerno, Chase, Hepler, the unknown Pennsylvania Troopers, and the unknown

Towamencin police officers conducted an unauthorized no-knock entry; (b) claims alleging

excessive force against Defendants Acerno, Chase, Hepler, and the unknown Pennsylvania

Troopers; (c) the claim against Defendant Acerno for allegedly making false statements in the

warrant application; and (d) the claims for deliberate indifference to Hammond’s medical needs

against Defendants Acerno and Chase.

          6.      Hammond may also notify the Court that he seeks to proceed on this basis only

rather than file an amended complaint. If he files such a notice, the Court will direct service

without waiting for the balance of the thirty day period to expire. Hammond is reminded to

include the case number for this case, 21-3674.

          7.      The time to serve process under Federal Rule of Civil Procedure 4(m) is

EXTENDED to the date 90 days after the Court issues summonses in this case if summonses are

issued.

                                               BY THE COURT:

                                               /s/ Chad F. Kenney

                                               CHAD F. KENNEY, J.
